                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION

UNITED STATES OF AMERICA,                          )
                     Plaintiff,                    )
vs.                                                )      CASE NO. 2:99CR122-7-T
                                                   )      (Financial Litigation Unit)
RONDA LEE LOSSIAH COLINDRES,                       )
AKA/RONDA LEE LOSSIAH,                             )
                      Defendant.                   )
and                                                )
                                                   )
GREAT SMOKIES INN, INC.,                           )
                       Garnishee.                  )

                        DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment filed in this case against the defendant Ronda Lee

Lossiah Colindres is DISMISSED.




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                        Signed: January 6, 2006




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